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               MINUTES OF THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF ARIZONA


      JOHN SWYGERT                         v.    A&S COLLECTION ASSOCIATES
                                                 INCORPORATED

THE HONORABLE JOHN W. SEDWICK                    CASE NO. 2:10-cv-00042 (JWS)


PROCEEDINGS:        ORDER FROM CHAMBERS                     Date: March 27, 2012


      The motion at docket 18 is DENIED, because judgment has already been
entered at docket 17, and this case is closed.
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